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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA

      v.                                    Criminal No. 07-153 (JBS)

FREDERICK J. BIRKS,
CORNELIA ELDRIDGE, and                                  OPINION
ROBERT BEURET

                  Defendants.

APPEARANCES:

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Simandle, District Judge:

I.   INTRODUCTION

     This matter came before the Court on the motion of Defendant

Robert Beuret to dismiss the Second Superseding Indictment for

lack of venue, pursuant to Federal Rules of Criminal Procedure 12

and 18.   Co-defendants Cornelia Eldridge and Frederick J. Birks

joined in the motion.

     The Second Superseding Indictment (the “Indictment” or the

“Second Superseding Indictment”) alleges, in general, that

Defendants Frederick J. Birks, Cornelia Eldridge and Robert

Beuret conspired to commit securities fraud in connection with

the purchase and sales of eContent stock, in violation of 18

U.S.C. § 371.    The alleged object of the conspiracy was to issue

free-trading eContent stock to an individual denominated as CW-1

in order to compensate him and others working with him for their

illegal stock promotion activities in the public market for

eContent stock.     The Second Superseding Indictment, as presently

pled, alleges that this transfer of free-trading eContent stock

to CW-1 occurred on June 3, 2002.

     During the briefing on the venue motion, which the

Government opposes, it came to light that there is a material

error in the Indictment as to the date of the accomplishment of

the object of the conspiracy.          Specifically, the Indictment

charged that the transfer of eContent stock to CW-1 occurred on


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or about June 3, 2002, but the Government seeks to prove that

actually occurred on or about June 26, 2002, which would thereby

become the corrected date for the achievement of the object of

the conspiracy.     The Government does not seek to alter the

alleged object of the conspiracy but it concedes that a change of

date for accomplishing this object would alter the whole analysis

of whether the Court has venue.        That date change alters the

venue analysis because the only overt acts alleged in the Second

Superseding Indictment to have occurred in New Jersey occurred

after the accomplishment of the conspiracy on June 3, 2002, as

presently alleged, but before (and presumably in furtherance of)

the proposed corrected date of June 26, 2002 for accomplishment

of the object of the conspiracy.

     The Court heard oral argument on May 1, 2008.             At that time

Defendant Frederick J. Birks joined in the motion to dismiss the

Second Superseding Indictment, but indicated that if the case

were to go forward he would prefer to be tried in the District of

New Jersey.

     Although this motion was filed as a motion to dismiss for

lack of venue, because the Government now concedes that the

Second Superseding Indictment contains an error and because it

intends to prove at trial facts that differ from those alleged in

the indictment, the more important and threshold issue for the

Court to determine is whether Defendant may be tried on the


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erroneous Indictment.      That is, the Court must decide whether

that change at trial would constitute an impermissible

constructive amendment of the Second Superseding Indictment.

      Because the Court finds that the date on which CW-1 was

allegedly compensated for illegal stock promotion activities is

material to the charges against Defendants, the Court is unable

to determine the question of venue upon the present record, and

shall temporarily stay this case for the purpose of enabling the

United States to seek clarification from the grand jury in the

form of a Third Superseding Indictment.

      The Court will not opine on whether it would have venue over

the charges as they might be alleged in the future, given that no

new indictment has yet been issued.         Such an opinion would be

advisory and speculative.      If there is a Third Superseding

Indictment filed in this case and if Defendants raise a venue

challenge to that indictment, the Court can adjudicate any venue

challenge at that time.

II.   SUMMARY OF THE SECOND SUPERSEDING INDICTMENT

      Defendants Robert Beuret, Cornelia Eldridge and Frederick J.

Birks are charged with one count of violating 18 U.S.C. § 371 by

conspiring (1) to “employ manipulative and deceptive devices and

contrivances in connection with the purchase and sale of

securities . . . contrary to [15 U.S.C. §§ 78j(b), 78ff(a) and 17

C.F.R. § 240.10b-5]”; and (2) “to . . . make untrue statements of


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material fact, and to omit to state material facts” “in a

registration filed under the Securities Act, namely a Form S-8

registration statement authorizing the issuance of 1.1 million

free-trading shares of eContent stock to CW-1," contrary to 15

U.S.C. § 77x.    (Indictm’t ¶ 2.)

     The Second Superseding Indictment alleges the object of the

conspiracy as follows:

           It was an object of the conspiracy for
           defendants   FREDERICK   J.   BIRKS,   CORNELIA
           ELDRIDGE, and ROBERT BEURET, [and other co-
           conspirators] to issue free-trading eContent
           stock to CW-1, pursuant to a materially false
           and    fictitious   Form    S-8    registration
           statement, in order to compensate CW-1 and
           others   who   worked  with    him,   including
           Defendant FREDERICK J. BIRKS [and unindicted
           co-conspirators], for illegal stock promotion
           activities   regarding   eContent’s    publicly
           traded stock.

(Indictm’t ¶ 3.)

     In paragraph 15, the indictment alleges that Cornelia

Eldridge and others caused the shares to be transferred to an

account owned by CW-1 on June 3, 2002.

           On or about June 3, 2002, defendant CORNELIA
           ELDRIDGE and co-conspirators William Campbell
           and Gary Goodell caused eContent to deposit
           1.1 million free-trading shares of eContent
           stock to a brokerage account that CW-1 held
           at Camelot.

(Indictm’t ¶ 15.)        Thus, the Second Superseding Indictment

alleges that object of the conspiracy was accomplished by June 3,

2002, Beuret argues.        On the other hand, the Indictment


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specifically alleges that the conspiracy lasted until September

2002.   (Indictm’t ¶ 2.)

     Paragraphs 5-10 of the indictment allege the means and

methods of the conspiracy and paragraphs 11-26 allege sixteen

overt acts committed “in furtherance of the conspiracy and to

effect its unlawful objects.”          (Indictm’t at 8.)      Six of these

acts allegedly occurred on or about June 3, 2002. (Id. ¶¶ 14-19.)

     The indictment alleges that three overt acts occurred in New

Jersey:

           On or about June 3, 2002, defendant FREDERICK
           J. BIRKS and others caused Camelot to purchase
           approximately 40,000 shares of eContent stock
           from a market maker (a brokerage company that
           agreed to buy and sell prices in eContent
           stock, thereby ensuring the existence of a
           market for the stock) located in New Jersey,
           such purchases being designed to support the
           artificially high market price of eContent
           stock, on a day when CW-1 and AFP [(a co-
           conspirator’s account name)] were selling
           substantial quantities of the thinly-traded
           stock.
           [. . .]

           On or about June 10, 2002, defendant CORNELIA
           ELDRIDGE and [others] caused an accounting
           firm in New Jersey to execute a consent
           incorporating certain financial statements in
           connection with the form S-8 [that authorized
           the issuance of 1.1. million free-trading
           shares of eContent stock to CW-1].

           [ . . .]

           On or about September 20, 2002, defendant
           FREDERICK J. BIRKS [and others] caused AFP to
           sell approximately 29,000 shares of eContent’s
           publicly traded stock, using market makers
           located in New Jersey.

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(Indictm’t ¶¶ 19, 22, 26.)

III. DISCUSSION

     A.     Beuret’s Motion to Dismiss

     Defendant Beuret moved to dismiss the indictment for lack of

venue.    The parties agree that United States v. Perez, 280 F.3d

318 (3d Cir. 2002) accurately sets forth that a defendant has a

constitutional right to proper venue, that is a trial in the

district in which the crime occurred.

     “[V]enue can be established wherever a co-conspirator has

committed an act in furtherance of the conspiracy,” id. at 329,

that is, an overt act, 18 U.S.C. § 371.

            If two or more persons conspire either to
            commit any offense against the United States,
            or to defraud the United States, or any agency
            thereof in any manner or for any purpose, and
            one or more of such persons do any act to
            effect the object of the conspiracy, each
            shall be fined under this title or imprisoned
            not more than five years, or both.


18 U.S.C. § 371.     The federal conspiracy statute itself provides

that overt acts are any acts done “to effect the object of the

conspiracy.”    Thus, the Court will have venue if acts alleged in

the indictment to effect the object of the conspiracy occurred in

New Jersey.    In other words, if any of the three acts alleged

above were in furtherance of the conspiracy charged in the

Indictment, the Court has venue.

     Defendant Beuret argues that, according to the Indictment,


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none of the three acts that occurred in New Jersey was done in

furtherance of the charged conspiracy and therefore the Court

does not have venue.       Beuret’s argument depends, in significant

part, on the dates alleged in the charged conspiracy and the

general rule that “[a] conspiracy terminates when its ‘principal

purposes’ have been accomplished.”         United States v. Di Pasquale,

740 F.2d 1282, 1290 (3d Cir. 1984).         Thus, it matters whether the

alleged object of the conspiracy was accomplished on June 3, 2002

or June 26, 2002, for purposes of determining whether any of the

overt acts alleged therein was to effect the object of the

conspiracy.

     The Government argues that the nexus between the New Jersey

overt acts and the object of the conspiracy becomes clear if it

explains an error in the indictment.         In Paragraph 15, the

Indictment alleges that on or about June 3, 2002, certain co-

conspirators caused eContent to deposit 1.1 million shares of

eContent stock into CW-1's account at Camelot.            Compensating CW-1

with this stock is also alleged to be the object of the

conspiracy.    However, on this motion the Government now alleges

that the shares were issued June 26, 2002 and deposited into CW-

1's account on or about July 1, 2002.          According to the

Government, Paragraph 15 should have alleged that certain co-

conspirators caused eContent to issue 1.1 million shares of stock

to CW-1 on or about June 26, 2002, instead of on June 3, 2002.


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Thus, the Government argues, the acts that occurred in New Jersey

on June 3 and 10, 2002, alleged to be overt acts in paragraphs 19

and 22, could have been and were done to achieve the object of

the conspiracy, which, if now clarified, was accomplished around

June 26.   The Government attempts to mitigate the effects of such

a belated “factual clarification” by declining to present

evidence of this as an overt act at trial: “In light of this, the

Government will not seek to submit the overt act set forth in

paragraph 15 of the Second Superseding Indictment to the jury.”

(Gov. Br. at 8.)     However, practically that would be impossible

because the compensation to CW-1 is not only an overt act, but

also the object of the conspiracy itself.

     The Government further argues that an overt act occurring in

New Jersey needs to be proved at trial but does not have to be

alleged in the indictment.

     Finally, the Government argues that two additional later

overt acts were done in New Jersey in furtherance of the

conspiracy: after-market trades in eContent stock that were

executed through New Jersey market makers.              The Government

alleges that because after-market sales are acts in furtherance

of market manipulation of the price of the stock, that suffices

for meeting the charged object of the conspiracy – fraudulent

issuance of stock as compensation.         Defendant Beuret argues that

market manipulation is not encompassed in the charged conspiracy


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object and that, therefore, the after-market trades cannot be in

furtherance of the charged conspiracy or support a finding that

this Court has venue.

      C.    Analysis

      As noted above, the Government intends to prove at trial

that compensation of CW-1 occurred on or about June 26, 2002,

rather than on or about the June 3 date charged.             The Government

further argues that such a change would make clear how this Court

has venue, that is, how acts that were done in New Jersey after

June 3 were done in furtherance of the conspiracy.              However, the

Court cannot permit the Government to proceed in this manner upon

the Second Superseding Indictment.          The Government cannot amend

such a material allegation in the Indictment by a “factual

clarification” in a brief and proofs at trial that vary so

substantially from the Indictment because the Defendant has a

Fifth Amendment right to be tried only on the charges indicted by

the grand jury.     See U.S. Const. Amend. V (“No person shall be

held to answer for a capital, or otherwise infamous crime, unless

on a presentment or indictment of a Grand Jury.”).

            A constructive amendment occurs where a
            defendant is deprived of his "substantial
            right to be tried only on charges presented in
            an indictment returned by a grand jury."
            United States v. Miller, 471 U.S. 130, 140,
            (1985) (quoting Stirone v. United States, 361
            U.S. 212, 217 (1960)) (internal quotation
            marks omitted). A constructive amendment to
            the indictment constitutes "a per se violation
            of the fifth amendment’s grand jury clause."

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            United States v. Castro,           776      F.2d   1118,
            1121-22 (3d Cir. 1985).


United States v. Syme, 276 F.3d 131, 148 (3d Cir. 2002).

“Moreover, the Sixth Amendment guarantees that criminal

defendants be given sufficient notice of the nature of the

charges in order to defend against them.”            United States v.

Thomas, 610 F.2d 1166, 1173 (3d Cir. 1979).

      The Court finds that the change in date of the

accomplishment of the object of the conspiracy is not a

permissible variance, given that the permissible variance

doctrine applies when trial evidence is slightly different than

anticipated and given that, even if the doctrine applied to this

case, this factual error in the charge is too important to the

classification of overt acts in furtherance of the charged

conspiracy, and hence to the propriety of venue in this District,

to be permitted as a harmless variance.

            [T]wo   types   of   variations   between  the
            indictment and evidence exist: amendments,
            which occur when the charging terms of the
            indictment are altered, and variances, where
            the charging terms are unchanged, but the
            evidence at trial proves facts materially
            different   from   those    alleged    in  the
            indictment. [United States v. Somers, 496 F.2d
            723, 743 n.38 (3d Cir.), cert. denied, 419
            U.S. 832 (1974)] (quoting Gaither v. United
            States, 413 F.2d 1061, 1071 (D.C. Cir. 1969).
            The difference between these variations is not
            merely academic, for we observed that Supreme
            Court   precedent   indicated   that   if  the
            variation were characterized as an amendment,
            it would constitute a per se violation of the

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            fifth amendment's grand jury clause. Somers,
            496 F.2d at 743. Variances, however, are
            subject to less strict case-by-case inquiry,
            and would only constitute reversible error in
            those cases where the variance prejudiced the
            defendant's defense. Id. at 743-44. Our
            analysis led us to conclude that:

                  in evaluating variances, we must first
                  determine whether there has been a
                  modification in the elements of the crime
                  charged . . . . If such a modification
                  exists, we will apply the per se rule of
                  [Stirone v. United States, 361 U.S. 212
                  (1960)] so as to preserve the shielding
                  function of the grand jury. If, on the
                  other hand, the variance does not alter
                  the elements of the offense charged, we
                  will focus upon whether or not there has
                  been prejudice to the defendant. . . .

                  Somers, 496      F.2d     at   744    (citations
                  omitted).


United States v. Castro, 776 F.2d 1118, 1122 (3d Cir. 1985).

      Here, the Government is seeking, before trial, to change a

central allegation in the Indictment, the date on which the

object of the conspiracy was accomplished, in order to show that

other acts alleged in the indictment as occurring after the

object was accomplished actually occurred before the object was

accomplished and, by implication, in furtherance of the

conspiracy.     These are not minuscule variations; the object of

the conspiracy and the acts allegedly done in furtherance of the

conspiracy are essential elements of the crime that describe the

contours of the alleged conspiracy.

      Indeed, the law of conspiracy requires that to convict

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Defendants of conspiracy in violation of 18 U.S.C. § 371, the

sole charge here, the Government will have to “establish ‘a unity

of purpose, intent to achieve a common goal, . . .’ [and] must

proffer evidence that [each defendant] knew of the agreement and

intended both to join it and to accomplish its illegal objects.”

United States v. McKee, 506 F.3d 225, 241 (3d Cir. 2007) (quoting

United States v. Wexler, 838 F.2d 88, 90-91 (3d Cir. 1988)).                See

also United States v. Roshko, 969 F.2d 1, 5 (2d Cir. 1992)

(“Without question, the object of a conspiracy constitutes an

essential element of the conspiracy offense.”).1             Because the

timing of the overt acts is highly suggestive of the charged

conspiracy in this case, a change of the date on which the object

of the conspiracy was accomplished may be highly material to

giving the defendants adequate notice of the contours of the

conspiracy and overt acts to effect its charged object.

      The overt acts as presented to the Grand Jury occurred very

close together in time, and many on the same day as the

compensation to CW-1 was allegedly accomplished.             If CW-1 was



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            In order to prove a conspiracy to defraud the
            United States in violation of 18 U.S.C. 371
            (Count 1), the evidence must establish the
            following elements beyond a reasonable doubt:
            (1) an agreement to defraud the United States,
            (2) an overt act by one of the conspirators in
            furtherance of that objective, and (3) any
            conspirator's commission of at least one overt
            act in furtherance of the conspiracy.

United States v. McKee, 506 F.3d 225, 238 (3d Cir. 2007).
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actually compensated nearly a month later, it is not clear a

grand jury would find the causal connection between that and the

overt acts that would be necessary to indict, or that they would

find the same connection they found in this indictment.               In other

words, if compensation of CW-1 did not occur until a month after

the alleged overt acts occurred, rather than on the same day as

them, a grand jury might not find that those acts were done to

achieve the object of compensating CW-1.           While this seems

unlikely in light of the Government’s proffered facts, the matter

deserves clarification by the Grand Jury to assure adequate

notice to defendants and focus of these important allegations.

      The Court does not find, however, that a change in the date

of the accomplishment of the object changes an essential element

of the crime.     If the object remains the same – that is, “to

issue free-trading eContent stock to CW-1, pursuant to a

materially false and fictitious Form S-8 registration statement,

in order to compensate CW-1 and others . . .” – then a Third

Superseding Indictment changing the date of accomplishment of the

charged conspiracy would not be introducing a new element of the

crime presently charged.       It follows that the requisite amendment

herein is not for the purpose of defining a new object, but for

clarifying whether the Grand Jury finds that the object was

achieved on June 3, 2002 or June 26, 2002, or some other date,

before this Court can engage in venue analysis.             Thus, while the


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case cannot proceed in its present form, the United States has

requested the opportunity to seek a Third Superseding Indictment

to clarify this important fact.

      The Court finds, in its discretion, that the most prudent

course is to temporarily stay this case for a period of time -

thirty (30) days – that affords the United States a sufficient

opportunity to seek a clarifying indictment before this Court can

determine whether venue is proper.          The clarification of dates

does not alter the substantive charge of conspiracy and its

alleged object.     Outright dismissal of the Second Superseding

Indictment would likewise be inappropriate because it may confer

a windfall upon Defendants in a case where venue is ultimately

proper.

IV.   CONCLUSION

      Altering the date that CW-1 was actually compensated from

the indicted date of June 3, 2002 to June 26, 2002 would change a

central allegation in the indictment necessary to a determination

of venue by clarifying whether acts allegedly undertaken in

furtherance of the charged conspiracy occurred in the District of

New Jersey.     In this case, the United States has conceded that

the date of achievement of the object of the conspiracy must be

changed, and that the overt acts allegedly in furtherance of the

conspiracy should be judged by the new date rather than the date

found by the Grand Jury.       Therefore, to protect Defendants’ Fifth


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Amendment rights to be tried only on the charges for which the

Grand Jury returned an indictment, the Court must grant the

motion to the extent of staying proceedings upon the Second

Superseding Indictment for a period of thirty (30) days without

prejudice to the Government’s right to secure a Third Superseding

Indictment correcting this defect within thirty (30) days.                If no

Third Superseding Indictment is filed within this period, the

Second Superseding Indictment will be subject to the possibility

of dismissal at that time.       The accompanying Order shall be

entered.




September 2, 2008                            s/ Jerome B. Simandle
Date                                        JEROME B. SIMANDLE
                                            U.S. District Judge




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